






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-239 CR


____________________



BRYAN CHRISTOPHER UNDERWOOD, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 86841






MEMORANDUM OPINION (1)


	Bryan Christopher Underwood was convicted and sentenced on an indictment for
possession of a controlled substance.  Underwood filed a notice of appeal on May 16,
2003.  The trial court entered a certification of the defendant's right to appeal in which the
court certified that this is a plea-bargain case, and the defendant has no right of appeal. 
See Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the
Court of Appeals by the district clerk.

	On May 22, 2003, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made
part of the appellate record by June 21, 2003.  See Tex. R. App. P. 37.1.  The record has
not been supplemented with an amended certification.  Because a certification that shows
the defendant has the right of appeal has not been made part of the record, the appeal must
be dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

										PER CURIAM


Opinion Delivered July 10, 2003

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


